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                 EXHIBIT B-146
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                                                                        FILEDINOFFICE

                   IN THE SUPERIOR COURT OF FULTON COUN1Y
                              STATE OF GEORGIA                           DEPUTYCLERKSUPERIORCOURT
                                                                             FULTONCOUNTY,GA


IN RE 2 MAY 2022 SPECIAL PURPOSE                    2022-EX-000024
GRANDJURY



                                SCHEDULING ORDER

       On 20 March 2023, former President Trump filed a motion that, if granted, would

quash the final report of the Special Purpose Grand Jury, a body the Superior Court of

Fulton County authorized to investigate possible criminal interference into the 2020

general election in Georgia. The motion also seeks the disqualification of the District

Attorney's Office from any further investigation into or prosecution of such alleged

interference. The District Attorney's Office is ORDERED to file a response to the motion

no later than 1 May 2023.   That response, beyond addressing the various contentions in

the former President's motion, should also include an opinion on whether the motion

requires a hearing for proper resolution.

       SO ORDERED this 27 th day of March 2023.




                                               J g Robert C.l. McBurney
                                               Superior Court of Fulton County
                                               Atlanta Judicial Circuit
